Case 2:20-cv-01691-JFW-AFM Document 97-6 Filed 09/03/21 Page 1 of 2 Page ID #:2195



      Case 2:20-cv-01691-JFW-AFM Document 79-1 Filed 08/23/21 Page 1 of 2 Page ID #:898




                                 ([KLELW
                                                Defendants' Summary Judgment Exhibit No. 6
                                                                                   Page 5
Case 2:20-cv-01691-JFW-AFM Document 97-6 Filed 09/03/21 Page 2 of 2 Page ID #:2196



      Case 2:20-cv-01691-JFW-AFM Document 79-1 Filed 08/23/21 Page 2 of 2 Page ID #:899




              &21),'(17,$/                                             &2/$




                                                Defendants' Summary Judgment Exhibit No. 6
                                                                                   Page 6
